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 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                   SAN FRANCISCO DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 3:19-cv-07123-JSC
     and FACEBOOK, INC., a Delaware
12   corporation,                              NOTICE OF APPEARANCE OF
                                               AARON S. CRAIG
13               Plaintiffs,
14         v.                                  Action Filed: 10/29/2019
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,
16
                 Defendants.
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     NOTICE OF APPEARANCE OF                                      Case No. 3:19-cv-07123-JSC
     AARON S. CRAIG
       Case 4:19-cv-07123-PJH Document 26 Filed 03/06/20 Page 2 of 2




 1          PLEASE TAKE NOTICE that Aaron S. Craig of King & Spalding LLP hereby appears

 2   as counsel in this action for Defendants NSO Group Technologies Limited and Q Cyber

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14                                                          TECHNOLOGIES LIMITED and Q
                                                            CYBER TECHNOLOGIES LIMITED
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      NOTICE OF APPEARANCE OF                       1                       Case No. 3:19-cv-07123-JSC
      AARON S. CRAIG
